                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                       Plaintiff,
       v.                                                      Case No. 05-CR-240

JOHNNY BURNETT,

                       Defendant.


                           ORDER DENYING MOTION FOR BOND

       On November 15, 2005, this court entered an order of detention. The order was based on the

fact that the defendant had failed to rebut the joint presumptions of a serious risk of non-appearance

and danger to the community. 18 U.S.C. §3142(e). The defendant is charged in counts 2 and 3 of the

indictment and, if convicted, faces a maximum term of imprisonment of 10 years or more. The court

did indicate that it would be willing to review its order of detention upon a change in circumstances.

       On May 1, 2007, the defendant filed a motion seeking a review of the detention order. In his

motion, the defendant proposes that he be released on the following conditions: maintain a stable

residence; seek and maintain employment; participate in an AODA assessment and any appropriate

screening and treatment; participate in a home confinement program with electronic monitoring; and

any other appropriate conditions. To reduce the risk of non-appearance, the defendant requests that

a $5,000.00 cash or property bond, secured by the family, be established. The government opposes

the motion and requests that it be denied without a hearing.




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       Due to the complex nature of this case, it has been pending for a significant amount of time,

and the defendant has been detained since November 15, 2005. Nevertheless, release is only

appropriate if the presumptions can be overcome. The defendant’s proposal is not specific enough

for the court to give it proper consideration. For example, the defendant proposes that he maintain

a stable residence, but none is suggested. How can Pretrial Services conduct its investigation unless

a particular place of residence is provided? The defendant requests that $5,000.00 in cash or property

be posted by family members, but does not indicate which family members. Further, there is no

indication that if the defendant failed to appear, the loss of the posted funds would cause a severe

financial impact on the persons posting the bond. If it does not, then the requested sum will not

reasonably assure the defendant’s appearance as required. Finally, it is incumbent upon the defendant

to demonstrate to the government and the court that any cash or property comes from legitimate

sources, or it is unacceptable.

       The court is not saying that the defendant is unable to craft a bond proposal that will be

acceptable, but, the proposal must be sufficiently specific so that the court can give it appropriate

consideration. Accordingly, the defendant’s present motion will be denied without prejudice.

       SO ORDERED.

       Dated at Milwaukee, Wisconsin this 9th day of May, 2007.


                                              s/AARON E. GOODSTEIN
                                              U.S. Magistrate Judge




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